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                     UNITED STATES DISTRICT COURT
           FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.2.2
                                Eastern Division

Natasha Nunn−Paige, et al.
                                      Plaintiff,
v.                                                     Case No.: 1:19−cv−02352
                                                       Honorable Virginia M. Kendall
United States of America, et al.
                                      Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Wednesday, May 15, 2019:


        MINUTE entry (Corrected) before the Honorable Virginia M. Kendall. Initial
Status hearing held on 5/15/2019. By agreement of parties, Plaintiff's oral motion to
remand the case to state court is granted. The Clerk of Court is directed to remand the case
to the Circuit Court of Cook County, Illinois forthwith. Plaintiff withdraws motion for
default. Defendants' Motions to Dismiss [4] and [16] are dismissed as moot. Mailed
notice(lk, )




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Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
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